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                 Exhibit A
5/2/25, 3:17 PM                                             Court Calendar | District of Maryland | United States District Court
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 Court Calendar



                                                                    Court Calendar
                                                           Greenbelt: Week of 4/28/2025
                             Monday - 28                Tuesday - 29                 Wednesday - 30                      Thursday - 1                  Friday - 2
                                                                               8:00 AM Court CVB: USPP -          8:00 AM Court CVB: USPP -
                                                                               Appearances                        Appearances
    Anderson         No Proceedings             No Proceedings                 USPP Docket                        USPP Docket                 No Proceedings
                                                                               Courtroom: 1A                      Courtroom: 1A

                                                                                                                                              10:30 AM Motions Hearing
                                                                                                                                              USA v. Gary E. Jorandby
    Chasanow         No Proceedings             No Proceedings                 No Proceedings                     No Proceedings              DKC 07-577
    Courtroom: TBD
                                                                                                                                              Courtroom: 3A

                                                                               2:30 PM VOSR Hearing
                                                                               USA v. Frye
                                                                               8:23-cr-00264
                                                10:30 AM Sentencing Hearing    Courtroom: 4B
                                                USA v. Martinez-Ballinas
    Griggsby         No Proceedings             8:23-cr-00458-LKG              4:00 PM Status Conference          No Proceedings              No Proceedings
                                                Courtroom: 3A                  Foster-Daley v. Willow Marsh
                                                                               Manor Assisted Living, LLC et al
                                                                               8:24-cv-03186-LKG
                                                                               Courtroom: Virtual Proceeding

    Quereshi                                    No Proceedings                 No Proceedings                     No Proceedings              No Proceedings
                                                9:00 AM Routine Criminal
                                                Courtroom: 3B

    Simms            9:00 AM Routine Criminal   11:00 AM Telephone Conference 9:00 AM Routine Criminal            9:00 AM Routine Criminal    9:00 AM Routine Criminal
                     Courtroom: 3B                                            Courtroom: 3B                       Courtroom: 3B               Courtroom: 3B
    Courtroom: TBD                              Yao v. Chen et al
                                                8:23-cv-00889-TDC
                                                Courtroom: Virtual Proceeding

                                                                               9:45 AM Detention Review
                                                                               USA v. Massey, Jr.
    Sullivan
                     No Proceedings             No Proceedings                 8:24-cr-00041-PX                   No Proceedings              No Proceedings
    Courtroom: TBD
                                                                               Courtroom: 3A

                                                                                                                  8:30 AM Other
                                                                                                                  ARCS
                     12:00 PM VOSR Hearing                                     12:00 PM Motions Hearing           Courtroom: 2C
                     USA v. Edwards                                            USA v. Massey, Jr.
    Xinis
                     8:24-cr-00281-PX           No Proceedings                 8:24-cr-00041-PX                   1:00 PM Rearraignment       No Proceedings
    Courtroom: TBD
                     Courtroom: 2C                                             Courtroom: 2C                      USA v. Watson
                                                                                                                  8:23-cr-00413-PX
                                                                                                                  Courtroom: 2C




https://www.mdd.uscourts.gov/calendar                                                                                                                                    1/1
